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   7    Attorneys for Plaintiff and Counter-Defendant Attorneys for Defendant and Counter-Claimant
        Point A Technologies, Inc.                    Lodge Manufacturing Company
   8
                                  UNITED STATES DISTRICT COURT
   9
                                CENTRAL DISTRICT OF CALIFORNIA
  10
  11
        POINT A TECHNOLOGIES, INC., a California
        corporation,                                       Case No. 2:20-cv-07980-MRW
  12

  13                                Plaintiff,
                                                           JOINT STIPULATED PROTECTIVE
  14                vs.                                    ORDER

  15    LODGE MANUFACTURING COMPANY, a
        Tennessee corporation; and Does 1 through 25,
  16    inclusive,                                         Judge: Hon. Michael R. Wilner

  17                                Defendant.

  18
                                                           Complaint Filed: June 5, 2020
  19    LODGE MANUFACTURING COMPANY, a
        Tennessee corporation,                             Counter-Claim Filed: September 8, 2020
  20
                                   Counter-Claimant,
  21                                                       Trial Date: December 13, 2021 at 9:00 a.m.
                    vs.
  22

  23    POINT A TECHNOLOGIES, INC., a California
        corporation,
  24
                                   Counter-Defendant.
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                                   STIPULATED PROTECTIVE ORDER
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  1   1.       INTRODUCTION.

  2            A. PURPOSES AND LIMITATIONS.

  3            Discovery in this action is likely to involve production of confidential, proprietary, or

  4   private information for which special protection from public disclosure and from use for any

  5   purpose other than prosecuting this litigation may be warranted. Accordingly, the parties hereby

  6   stipulate to and petition the Court to enter the following Stipulated Protective Order. The parties

  7   acknowledge that this Order does not confer blanket protections on all disclosures or responses to

  8   discovery and that the protection it affords from public disclosure and use extends only to the

  9   limited information or items that are entitled to confidential treatment under the applicable legal

 10   principles. The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated

 11   Protective Order does not entitle them to file confidential information under seal; Civil Local Rule

 12   79-5 sets forth the procedures that must be followed and the standards that will be applied when a

 13   party seeks permission from the court to file material under seal.

 14            B. GOOD CAUSE STATEMENT.

 15            This action is likely to involve trade secrets, customer and pricing lists and other valuable

 16   research, development, commercial, financial, technical and/or proprietary information for which

 17   special protection from public disclosure and from use for any purpose other than prosecution of

 18   this action is warranted, especially because the parties are engaged in the same or similar business.

 19   Such confidential and proprietary materials and information consist of, among other things,

 20   confidential business or financial information, information regarding confidential business

 21   practices, or other confidential research, development, or commercial information (including

 22   information implicating privacy rights of third parties), information otherwise generally

 23   unavailable to the public, or which may be privileged or otherwise protected from disclosure under

 24   state or federal statutes, court rules, case decisions, or common law. Accordingly, to expedite the

 25   flow of information, to facilitate the prompt resolution of disputes over confidentiality of discovery

 26   materials, to adequately protect information the parties are entitled to keep confidential, to ensure

 27   that the parties are permitted reasonably necessary uses of such material in preparation for and in

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  1   the conduct of trial, to address their handling at the end of the litigation, and serve the ends of

  2   justice, a protective order for such information is justified in this matter. It is the intent of the

  3   parties that information will not be designated as confidential for tactical reasons and that nothing

  4   be so designated without a good faith belief that it has been maintained in a confidential, non-

  5   public manner, and there is good cause why it should not be part of the public record of this case.

  6   2.       DEFINITIONS.
  7            2.1   Action: This pending federal law suit captioned above.

  8            2.2   Challenging Party: A Party or Non-Party that challenges the designation of

  9   information or items under this Order.

 10            2.3   “CONFIDENTIAL” Information or Items: Information (regardless of how it is

 11   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

 12   of Civil Procedure 26(c), and as specified above in the Good Cause Statement.

 13            2.4   Counsel: Outside Counsel of Record (as well as their support staff).

 14            2.5   Designating Party: A Party or Non-Party that designates information or items that

 15   it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

 16            2.6   Disclosure or Discovery Material: All items or information, regardless of the

 17   medium or manner in which it is generated, stored, or maintained (including, among other things,

 18   testimony, transcripts, and tangible things), that are produced or generated in disclosures or

 19   responses to discovery in this matter.

 20            2.7   Expert: A person with specialized knowledge or experience in a matter pertinent to

 21   the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

 22   consultant in this Action.

 23            2.8   House Counsel: Attorneys who are employees of a party to this Action. House

 24   Counsel does not include Outside Counsel of Record or any other outside counsel.

 25            2.9   Non-Party: Any natural person, partnership, corporation, association, or other legal

 26   entity not named as a Party to this action.

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  1            2.10   Outside Counsel of Record: Attorneys who are not employees of a party to this

  2   Action but are retained to represent or advise a party to this Action and have appeared in this

  3   Action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

  4   that party, and includes support staff.

  5            2.11   Party: Any party to this Action, including all of its officers, directors, employees,

  6   consultants, retained experts, and Outside Counsel of Record (and their support staffs).

  7            2.12   Producing Party: A Party or Non-Party that produces Disclosure or Discovery

  8   Material in this Action.

  9            2.13   Professional Vendors: Persons or entities that provide litigation support services

 10   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

 11   organizing, storing, or retrieving data in any form or medium) and their employees and

 12   subcontractors.

 13            2.14   Protected Material: Any Disclosure or Discovery Material that is designated as

 14   “CONFIDENTIAL.”

 15            2.15   Receiving Party: A Party that receives Disclosure or Discovery Material from a

 16   Producing Party.

 17   3.       SCOPE.

 18            The protections conferred by this Stipulation and Order cover not only Protected Material

 19   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

 20   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

 21   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

 22            Any use of Protected Material at trial shall be governed by the orders of the trial judge.

 23   This Order does not govern the use of Protected Material at trial.

 24   4.       DURATION.

 25            Even after final disposition of this litigation, the confidentiality obligations imposed by this

 26   Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

 27   otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims

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  1   and defenses in this Action, with or without prejudice; and (2) final judgment herein after the

  2   completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,

  3   including the time limits for filing any motions or applications for extension of time pursuant to

  4   applicable law.

  5   5.       DESIGNATING PROTECTED MATERIAL.

  6            5.1    Exercise of Restraint and Care in Designating Material for Protection.

  7            Each Party or Non-Party that designates information or items for protection under this

  8   Order must take care to limit any such designation to specific material that qualifies under the

  9   appropriate standards. The Designating Party must designate for protection only those parts of

 10   material, documents, items, or oral or written communications that qualify so that other portions

 11   of the material, documents, items, or communications for which protection is not warranted are

 12   not swept unjustifiably within the ambit of this Order.

 13            Mass, indiscriminate, or routinized designations are prohibited. Designations that are

 14   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

 15   unnecessarily encumber the case development process or to impose unnecessary expenses and

 16   burdens on other parties) may expose the Designating Party to sanctions.

 17            If it comes to a Designating Party’s attention that information or items that it designated

 18   for protection do not qualify for protection, that Designating Party must promptly notify all other

 19   Parties that it is withdrawing the inapplicable designation.

 20            5.2    Manner and Timing of Designations. Except as otherwise provided in this Order

 21   (see, e.g., second paragraph of section 5.2(b) below), or as otherwise stipulated or ordered,

 22   Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

 23   designated before the material is disclosed or produced.

 24            Designation in conformity with this Order requires the following:

 25            (a)    for information in documentary form (e.g., paper or electronic documents, but

 26            excluding transcripts of depositions or other pretrial or trial proceedings), that the

 27            Producing Party affix at a minimum, the legend “CONFIDENTIAL” to each page that

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  1            contains protected material. If only a portion or portions of the material on a page qualifies

  2            for protection, the Producing Party also must clearly identify the protected portion(s) (e.g.,

  3            by making appropriate markings in the margins).

  4            (b)    a Party or Non-Party that makes original documents available for inspection need

  5            not designate them for protection until after the inspecting Party has indicated which

  6            documents it would like copied and produced. During the inspection and before the

  7            designation, all of the material made available for inspection shall be deemed

  8            “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants

  9            copied and produced, the Producing Party must determine which documents, or portions

 10            thereof, qualify for protection under this Order. Then, before producing the specified

 11            documents, the Producing Party must affix the “CONFIDENTIAL legend” to each page

 12            that contains Protected Material. If only a portion or portions of the material on a page

 13            qualifies for protection, the Producing Party also must clearly identify the protected

 14            portion(s) (e.g., by making appropriate markings in the margins).

 15            (c)    for testimony given in depositions, that the Designating Party identify the

 16            Disclosure or Discovery Material on the record, before the close of the deposition all

 17            protected testimony.

 18            (d)    for information produced in some form other than documentary and for any other

 19            tangible items, that the Producing Party affix in a prominent place on the exterior of the

 20            container or containers in which the information is stored the legend “CONFIDENTIAL.”

 21            If only a portion or portions of the information warrants protection, the Producing Party,

 22            to the extent practicable, shall identify the protected portion(s).

 23            5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

 24   designate qualified information or items does not, standing alone, waive the Designating Party’s

 25   right to secure protection under this Order for such material. Upon timely correction of a

 26   designation, the Receiving Party must make reasonable efforts to assure that the material is treated

 27   in accordance with the provisions of this Order.

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  1   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS.

  2            6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

  3   confidentiality at any time that is consistent with the Court’s Scheduling Order.

  4            6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process

  5   under Local Rule 37.1 et seq.

  6            6.3     Burden of Persuasion. The burden of persuasion in any such challenge proceeding

  7   shall be on the Designating Party. Frivolous challenges, and those made for an improper purpose

  8   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may expose the

  9   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn the

 10   confidentiality designation, all parties shall continue to afford the material in question the level of

 11   protection to which it is entitled under the Producing Party’s designation until the Court rules on

 12   the challenge.

 13   7.       ACCESS TO AND USE OF PROTECTED MATERIAL.

 14            7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

 15   produced by another Party or by a Non-Party in connection with this Action only for prosecuting,

 16   defending, or attempting to settle this Action. Such Protected Material may be disclosed only to

 17   the categories of persons and under the conditions described in this Order. When the Action has

 18   been terminated, a Receiving Party must comply with the provisions of section 13 below (“FINAL

 19   DISPOSITION”).

 20            Protected Material must be stored and maintained by a Receiving Party at a location and in

 21   a secure manner that ensures that access is limited to the persons authorized under this Order.

 22            7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

 23   by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

 24   information or item designated “CONFIDENTIAL” only to:

 25            (a)     the Receiving Party’s Outside Counsel of Record in this Action, as well as

 26            employees of said Outside Counsel of Record to whom it is reasonably necessary to

 27            disclose the information for this Action;

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  1            (b)    the officers, directors, and employees (including House Counsel) of the Receiving

  2            Party to whom disclosure is reasonably necessary for this Action;

  3            (c)    Experts (as defined in this Order) of the Receiving Party to whom disclosure is

  4            reasonably necessary for this Action and who have signed the “Acknowledgment and

  5            Agreement to Be Bound” (Exhibit A);

  6            (d)    the Court and its personnel;

  7            (e)    Court reporters and their staff;

  8            (f)    professional jury or trial consultants, mock jurors, and Professional Vendors to

  9            whom disclosure is reasonably necessary for this Action and who have signed the

 10            “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 11            (g)    the author or recipient of a document containing the information or a custodian or

 12            other person who otherwise possessed or knew the information;

 13            (h)    during their depositions, witnesses, and attorneys for witnesses, in the Action to

 14            whom disclosure is reasonably necessary provided: (1) the deposing party requests that the

 15            witness sign the form attached as Exhibit A hereto; and (2) they will not be permitted to

 16            keep any confidential information unless they sign the “Acknowledgment and Agreement

 17            to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered by

 18            the Court. Pages of transcribed deposition testimony or exhibits to depositions that reveal

 19            Protected Material may be separately bound by the court reporter and may not be disclosed

 20            to anyone except as permitted under this Stipulated Protective Order; and

 21            (i)    any mediator or settlement officer, and their supporting personnel, mutually agreed

 22            upon by any of the parties engaged in settlement discussions.

 23   8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN

 24            OTHER LITIGATION.

 25            If a Party is served with a subpoena or a Court order issued in other litigation that compels

 26   disclosure of any information or items designated in this Action as “CONFIDENTIAL,” that Party

 27   must:

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  1            (a)      promptly notify in writing the Designating Party. Such notification shall include a

  2            copy of the subpoena or court order;

  3            (b)      promptly notify in writing the party who caused the subpoena or order to issue in

  4            the other litigation that some or all of the material covered by the subpoena or order is

  5            subject to this Protective Order. Such notification shall include a copy of this Stipulated

  6            Protective Order; and

  7            (c)      cooperate with respect to all reasonable procedures sought to be pursued by the

  8            Designating Party whose Protected Material may be affected.

  9            If the Designating Party timely seeks a protective order, the Party served with the subpoena

 10   or court order shall not produce any information designated in this action as “CONFIDENTIAL”

 11   before a determination by the court from which the subpoena or order issued, unless the Party has

 12   obtained the Designating Party’s permission. The Designating Party shall bear the burden and

 13   expense of seeking protection in that court of its confidential material and nothing in these

 14   provisions should be construed as authorizing or encouraging a Receiving Party in this Action to

 15   disobey a lawful directive from another court.

 16   9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN

 17            THIS LITIGATION.

 18            (a)      The terms of this Order are applicable to information produced by a Non-Party in

 19            this Action and designated as “CONFIDENTIAL.” Such information produced by Non-

 20            Parties in connection with this litigation is protected by the remedies and relief provided

 21            by this Order. Nothing in these provisions should be construed as prohibiting a Non-Party

 22            from seeking additional protections.

 23            (b)      In the event that a Party is required, by a valid discovery request, to produce a Non-

 24            Party’s confidential information in its possession, and the Party is subject to an agreement

 25            with the Non-Party not to produce the Non-Party’s confidential information, then the Party

 26            shall:

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   1                   (1)     promptly notify in writing the Requesting Party and the Non-Party that

   2                   some or all of the information requested is subject to a confidentiality agreement

   3                   with a Non-Party;

   4                   (2)     promptly provide the Non-Party with a copy of the Stipulated Protective

   5                   Order in this Action, the relevant discovery request(s), and a reasonably specific

   6                   description of the information requested; and

   7                   (3)     make the information requested available for inspection by the Non-Party,

   8                   if requested.

   9            (c)    If the Non-Party fails to seek a protective order from this court within fourteen (14)

  10            days of receiving the notice and accompanying information, the Receiving Party may

  11            produce the Non-Party’s confidential information responsive to the discovery request. If

  12            the Non-Party timely seeks a protective order, the Receiving Party shall not produce any

  13            information in its possession or control that is subject to the confidentiality agreement with

  14            the Non-Party before a determination by the court. Absent a court order to the contrary, the

  15            Non-Party shall bear the burden and expense of seeking protection in this court of its

  16            Protected Material.

  17   10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.

  18            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

  19   Material to any person or in any circumstance not authorized under this Stipulated Protective

  20   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

  21   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected

  22   Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the

  23   terms of this Order, and (d) request such person or persons to execute the “Acknowledgment and

  24   Agreement to Be Bound” that is attached hereto as Exhibit A.

  25   11.      INADVERTENT            PRODUCTION          OF     PRIVILEGED          OR     OTHERWISE

  26            PROTECTED MATERIAL.

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   1            When a Producing Party gives notice to Receiving Parties that certain inadvertently

   2   produced material is subject to a claim of privilege or other protection, the obligations of the

   3   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision

   4   is not intended to modify whatever procedure may be established in an e-discovery order that

   5   provides for production without prior privilege review. Pursuant to Federal Rule of Evidence

   6   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

   7   communication or information covered by the attorney-client privilege or work product protection,

   8   the parties may incorporate their agreement in the Stipulated Protective Order submitted to the

   9   Court.

  10   12.      MISCELLANEOUS.

  11            12.1   Right to Further Relief. Nothing in this Order abridges the right of any person to

  12   seek its modification by the Court in the future.

  13            12.2   Right to Assert Other Objections. By stipulating to the entry of this Protective

  14   Order, no Party waives any right it otherwise would have to object to disclosing or producing any

  15   information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

  16   Party waives any right to object on any ground to use in evidence of any of the material covered

  17   by this Protective Order.

  18            12.3   Filing Protected Material. A Party that seeks to file under seal any Protected

  19   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal

  20   pursuant to a court order authorizing the sealing of the specific Protected Material at issue. If a

  21   Party's request to file Protected Material under seal is denied by the Court, then the Receiving

  22   Party may file the information in the public record unless otherwise instructed by the Court.

  23   13.      FINAL DISPOSITION.

  24            After the final disposition of this Action, as defined in section 4, within sixty (60) days of

  25   a written request by the Designating Party, each Receiving Party must return all Protected Material

  26   to the Producing Party or destroy such material. As used in this subdivision, “all Protected

  27   Material” includes all copies, abstracts, compilations, summaries, and any other format

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   1   reproducing or capturing any of the Protected Material. Whether the Protected Material is returned

   2   or destroyed, the Receiving Party must submit a written certification to the Producing Party (and,

   3   if not the same person or entity, to the Designating Party) by the sixty (60) day deadline that (1)

   4   identifies (by category, where appropriate) all the Protected Material that was returned or

   5   destroyed and (2) affirms that the Receiving Party has not retained any copies, abstracts,

   6   compilations, summaries or any other format reproducing or capturing any of the Protected

   7   Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy of all

   8   pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

   9   correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

  10   and expert work product, even if such materials contain Protected Material. Any such archival

  11   copies that contain or constitute Protected Material remain subject to this Protective Order as set

  12   forth in Section 4 (“DURATION”).

  13   14.      VIOLATION OF THIS ORDER.

  14            Any violation of this Order may be punished by any and all appropriate measures including,

  15   without limitation, contempt proceedings and/or monetary sanctions.

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   2   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   3
   4   Dated: October 16, 2020.                   Respectfully submitted,
   5                                              LAW OFFICE OF J. ERIC LEVINE
   6
                                                  By: /s/ J. Eric LeVine
   7                                              J. Eric LeVine

   8                                              Attorneys for Plaintiff/Counter-Defendant,
                                                  POINT A TECHNOLOGIES, INC.
   9

  10
  11   Dated: October 16, 2020.                   Respectfully submitted,

  12                                              POLSINELLI LLP

  13                                              By: /s/ Michael P. Cutler
                                                  Michael P. Cutler
  14                                              Alyssa M. Engstrom
  15                                              Attorneys for Defendant/Counter-Claimant,
  16                                              LODGE MANUFACTURING COMPANY

  17   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

  18
       Dated: 2FWREHU  
  19
                                                  HON. MICHAEL R. WILNER
  20                                              United States Magistrate Judge

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   1                                                 Attestation
   2            Pursuant to Local Rule 5-4.3.4(a), I hereby attest that all signatories listed above, on whose

   3   behalf this Stipulation and Order is being submitted, concur in the filing’s content and have
   4   authorized the filing.

   5
       Dated: October 16, 2020.                                Respectfully submitted,
   6

   7                                                           By: /s/ Michael P. Cutler
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   1
                                                   EXHIBIT A
   2
                        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3
   4            I, _____________________________ [print or type full name], of _________________
   5   [print or type full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the United States District Court for
   7   the Central District of California on ______________[date] in the case of Point A Technologies,
   8   Inc. v. Lodge Manufacturing Company, Case No. 2:20-cv-07980-MRW. I agree to comply with
   9   and to be bound by all the terms of this Stipulated Protective Order and I understand and
  10   acknowledge that failure to so comply could expose me to sanctions and punishment in the nature
  11   of contempt. I solemnly promise that I will not disclose in any manner any information or item
  12   that is subject to this Stipulated Protective Order to any person or entity except in strict compliance
  13   with the provisions of this Order.
  14            I further agree to submit to the jurisdiction of the United States District Court for the
  15   Central District of California for the purpose of enforcing the terms of this Stipulated Protective
  16   Order, even if such enforcement proceedings occur after termination of this action. I hereby
  17   appoint      __________________________             [print     or     type      full     name]      of
  18   _______________________________________ [print or type full address and telephone number]
  19   as my California agent for service of process in connection with this action or any proceedings
  20   related to enforcement of this Stipulated Protective Order.
  21            Date: ______________________________________
  22            City and State where sworn and signed: ________________________
  23            Printed name: _______________________________
  24            Signature: __________________________________
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                                      STIPULATED PROTECTIVE ORDER
                                         Case No. 2:20-cv-07980-MRW
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